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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 24-60891-Civ-AHS


  INTER-COSTAL WATERWAYS, LLC,

                        Plaintiff,

  v.

  TRADESTATION SECURITIES, INC.,
  and DOE DEFENDANTS 1-10,

                        Defendants,

                and

  FINANCIAL INDUSTRY REGULATORY
  AUTHORITY, INC.

                    Nominal Defendant.
  _____________________________________/

                      FINRA’S UNOPPOSED MOTION FOR EXTENSION
                        OF TIME TO RESPOND TO THE COMPLAINT

         Pursuant to Local Rule 7.1, Nominal Defendant Financial Industry Regulatory Authority,

  Inc. (“FINRA”) respectfully moves for an extension of time to respond to the Complaint.        In

  support of this motion, FINRA states as follows:

         1.     On June 4, 2024, Plaintiff served FINRA with the Summons and Complaint.

  FINRA’s response to the Complaint is currently due on June 25, 2024.

         2.     Due to the press of other work, as well as plans to be out of the district for

  personal reasons, undersigned counsel requires additional time to prepare FINRA’s response.
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  Pursuant to Federal Rule of Civil Procedure 6(b), FINRA requests a 14-day extension of time,

  through and including July 9, 2024, in which to respond to the Complaint.

         3.      The instant motion is made in good faith and neither the Court nor the parties will

  be prejudiced by the requested relief.

                                LOCAL RULE 7.1(a)(3) CERTIFICATION

         I hereby certify that the undersigned conferred with Plaintiff’s counsel, who does not

  object to the requested relief.

                                               Respectfully submitted,

                                               /s/ David S. Mandel
                                               David S. Mandel
                                                 FBN 38040
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                                               Counsel for Defendant,
                                               Financial Industry Regulatory Authority, Inc.




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                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 11th day of June 2024, the foregoing document was

  electronically filed with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all counsel of record.

                                                            /s/ David S. Mandel




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